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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

NICHIA CORPORATION,                                     )
                                                        )
                         Plaintiff,                     )
                                                        )    Case No. 6:19-cv-1333-RBD-EJK
              v.                                        )
                                                        )
LIGHTING SCIENCE GROUP CORP.,                           )
                                                        )
                   Defendant.                           )
                                                        )
                                                        )

   PLAINTIFF’S REQUEST FOR ORAL ARGUMENT ON ITS MOTION TO STRIKE
                 DEFENDANT'S INVALIDITY DISCLOSURES

        Pursuant    to     Local      Rule   3.01(j),       Plaintiff,   Nichia   Corporation   (“Nichia”)

 respectfully requests oral argument on Plaintiff’s Motion to Strike Defendant's Invalidity

 Disclosures (Dkt. 78).

        Nichia estimates that less than one hour is needed to hear this motion, along with the

 similar motions filed in Case Nos. 6:19-cv-1332 and 6:19-cv-1334.

 Dated: March 5, 2020

                                               Respectfully submitted,

                                               CARLTON FIELDS, P.A.

                                               By: /s/ Daniel C. Johnson____________________
                                               Eleanor M. Yost
                                               Florida Bar No. 1003178
                                               eyost@carltonfields.com
                                               William (Ty) Giltinan
                                               Florida Bar No. 27810
                                               wgiltinan@carltonfields.com
                                               J. Coy Stull
                                               Florida Bar No. 15764
                                               jstull@carltonfields.com
                                               4221 W. Boy Scout Boulevard
                                               Suite 1000
                                               Tampa, Florida 33607-5780
                                              Tel. No.: (813) 229-4395
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                                           Fax No.: (813) 229-4133

                                           -and-

                                           Daniel C. Johnson
                                           Trial Counsel
                                           djohnson@carltonfields.com
                                           Florida Bar No. 522880
                                           200 S. Orange Ave., Suite 1000
                                           Orlando, Florida 32801-3400

                                           ROTHWELL, FIGG, ERNST & MANBECK, P.C.

                                           Robert P. Parker (Trial Counsel) (pro hac vice)
                                           rparker@rfem.com
                                           Jenny Colgate (pro hac vice)
                                           jcolgate@rfem.com
                                           Michael Jones (pro hac vice)
                                           mjones@rfem.com
                                           Daniel McCallum (pro hac vice)
                                           dmccallum@rfem.com
                                           Mark Rawls (pro hac vice)
                                           mrawls@rfem.com
                                           Rothwell, fig, Ernst & Manbeck, P.C.
                                           607 14th Street N.W., Suite 800
                                           Washington, DC 20005
                                           Tel. No.: (202) 783-6040
                                           Fax No. : (202) 783-6031

                                           Attorneys for Plaintiff Nichia Corporation



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing has been furnished,

electronically, through the CM/ECF system, to all counsel of record on this 5th day of March 2020.


                                             /s/ Daniel C. Johnson
                                             Daniel C. Johnson




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